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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
SHEILA BIDAR AS LEGAL GUARDIAN OF                                     Index No.:
RUTH ATHILL, individually and on behalf of all
others similarly situated.                                            CLASS ACTION
                                                                      COMPLAINT
                                   Plaintiff,
                                                                      Jury Trial Demanded
                 - against -
                                                                      FILED VIA ECF
ECKERT, SEAMANS, CHERIN AND MELLOTT,
LLC, DEUTSCHE BANK NATIONAL TRUST
COMPANY, SELECT PORTFOLIO SERVICING,
INC., JOHN AND JANE DOE INVESTORS 1-10,
and JOHN AND JANE DOES 1-10,

                                    Defendants.
-----------------------------------------------------------------X

        Plaintiff Sheila Bidar as Legal Guardian of Ruth Athill (hereinafter “Plaintiff” or “Ms.

Bidar”) on behalf of themselves and all others similarly situated, for their complaint, allege upon

personal knowledge as to themselves and information and belief as to other matters, as follows:

                                             INTRODUCTION

        1.         This action alleges that mortgage lenders, the loan servicing agents that service

loans and the attorneys that prosecute foreclosure in New York have engaged in a pattern of

conduct that intentionally and fraudulently inflates the amount of judgment post-foreclosure sale.

The Defendants are alleged to have conspired to systemically insert false figures into the pro-

forma judgments of foreclosure and sale and the reports of sale that are reported by the

foreclosing referee and confirmed by the Court.

        2.         In the wake of the Great Recession in 2008, which caused widespread

foreclosures and brought the lending industry to a halt, those that acted on behalf of the banks

(i.e. their attorneys) were thriving. Many cut corners to be the most affordable attorneys and to

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attract business. One such firm was the notorious Steve Baum, P.C., which is now defunct in the

wake of rampant fraud and a New York Times exposé.1 Almost every foreclosure case resulted

in dismissal because the underlying evidence used to establish assignments of the note and

mortgage were deemed to be fraudulent. The firm disbanded and became a series of other firms

or other firms filled the void left by Baum’s exit. These firms include: Mccabe Weisberg &

Conway LLC,2 RAS Boriskin LLC, Rosicki, Rosicki & Associates, P.C.,3 Frenkel, Lambert,

Weiss, Weisman & Gordon, LLP, Shapiro, DiCaro & Barak, LLC, Davidson Fink LLP, Leopold

& Associates, PLLC, David A. Gallo & Associates LLP. Many staff attorneys from Steven J.

Baum’s firm still work in the industry and are principals of the above-mentioned law firms.

Many of these firms have been involved with some form of impropriety in the years that

followed, which could be as small as not having the required documents to foreclose or, in some

instances, completely making things up.

        3.        The state and federal government enacted numerous protection statutes that

require foreclosing mortgagees to provide delinquent homeowners additional preforeclosure

notices and require affirmations from attorneys to attest to the veracity of the documents being

submitted in court at all stages of the litigation. See e.g. REAL PROP . ACTS. §§ 1303, 1304, 1307,

1308. Due to these heightened requirements, thousands of mortgages became uncollectible

because certificate holders, servicers, and their attorneys simply could not or would not produce

the required proof in admissible form sufficient to prosecute a foreclosure case.

        4.        In an attempt to sidestep these new heightened requirements and to save on the

1
  Peter Lattman, Foreclosure Firm Steven J. Baum to Close Down, THE NEW YORK TIMES (November 21, 2011,
2:51 PM), https://archive.nytimes.com/dealbook.nytimes.com/2011/11/21/foreclosure-firm-steven-j-baum-to-close-
down/
2
  Jon Hill, Loan Servicer Sues McCabe Weisberg for Lost Foreclosure, LAW360 (August 31, 2018, 9:13 PM),
https://www.law360.com/articles/1079004/loan-servicer-sues-mccabe-weisberg-for-lost-foreclosure
3
  Complaint-in-Intervention, United States of America ex rel. Peter D. Grubea, v. Rosicki, Rosicki & Associates,
P.C., et. al., No. 1:12-cv-07199-JSR (S.D.N.Y. March 27, 2018), ECF No. 22.

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increased costs and diligence required to prosecute a foreclosure, banks and their attorneys began

using the courts as a tool to perpetually delay foreclosure cases through dilatory conduct,

voluntary dismissal and re-starts.4 This tactic came to a head in the infamous Freedom Mortgage

v. Engel, decision from the New York Court of Appeals, wherein the Court decided in a 4-3

decision and in the face of contrary decisions from multiple New York Appellate Divisions, that

most of the previously uncollectible mortgages could now be collected. 5

         5.        On December 30, 2022, the New York Governor signed into law the Foreclosure

Abuse Prevent Act (FAPA), whereby the New York State Legislature legislatively overruled

Engel on the basis that it, and similar cases, evidenced a complete disregard of existing case law

and the plain language of the law. The legislature, in the Sponsor's Memo to the bill that would

become FAPA, states the following:

                 "The aim of [FAPA] is to thwart and eliminate abusive and
                 unlawful litigation tactics that have been adopted and pursued in
                 mortgage foreclosure actions to manipulate the law and judiciary
                 to yield to expediency and the convenience of mortgage banking
                 and servicing institutions."

         Assembly Mem In Support of 2022 Assembly Bill A7737B, L2022, ch 821.

         6.        The New York Legislature intervened to thwart the abusive, unlawful, and

fraudulent conduct by lenders, servicers and their attorneys. The misconduct complained of

herein was recognized in 2013 by the Office of the State Comptroller, Division of State

Government Accountability

         7.        One such example is the lack of appropriate judicial oversight in the post-auction

foreclosure process in the state of New York. In the OSC-GAO audit report, it was reported that

4
  Mark Anderson & Andrew Fisher, Bank of N.Y. Mellon v. Slavin: How the Third Department Has Created a
Never-Ending Foreclosure Case Using the “Savings Statute” CPLR 205, 48 N.Y. REAL P ROP. L. J. 21, 21
(explaining how lenders previously utilized CPLR § 205 to revive a foreclosure action’s statute of limitations).
5
  Freedom Mortg. Corp. v. Engel, 37 N.Y.3d 1 (N.Y. 2021), superseded by statute, Foreclosure Abuse Prevention
Act, L 2022 ch 821.

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from a sample of ten foreclosure cases throughout the state, nine of the referee's reports of sale

were inaccurate.6

         8.        Moreover, a string of appellate decisions have reversed judgments of

foreclosure and sale by revealing inaccuracies, overcharges, phantom charges and a lack of

evidence in admissible form to substantiate the dollar amount of judgments of foreclosure and

sale.

         9.       Despite these findings, no action has been taken by the judiciary or the

legislature to investigate and remedy the systemic and endemic failures in the foreclosure

process that permeate and corrupt the computation of amounts due at judgment, for the amounts

of surplus monies and deficiencies. This complacency has led to widespread theft of homeowner

funds by lenders, their servicers, and their attorneys that act under the color of law.

         10.      This action alleges widespread, systematic fraud and theft that has been

purposefully perpetrated upon homeowners, their creditors, the judiciary, and the public. It is a

crisis that has been hiding in plain sight. There can be no uncertainty here: certain lenders, their

servicers, and their attorneys are working in a coordinated manner to steal from distressed

homeowners, their creditors, those holding subordinate claims to the first mortgage, and Local,

State, and Federal government. This action and the others that will follow seeks monetary

judgment and injunctive relief hoping to provide a solution.

                                       NATURE OF THE CASE

         11.      The Plaintiff brings this action on behalf of herself and a class of similarly

situated New York Residents challenging the fraudulent and deceiving practices of ECKERT,

SEAMANS, CHERIN AND MELLOTT, LLC; DEUTSCHE BANK NATIONAL TRUST


6
 State of New York Office of the State Comptroller, Division of State Government Accountability, Reporting on
Foreclosure of Real Property Funds – Kings County [2013-S-2, December 12, 2013].

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COMPANY, SELECT PORTFOLIO SERVICING, INC., JOHN AND JANE DOE

INVESTORS 1-10, and JOHN AND JANE DOES 1-10 (hereinafter the “Defendants”

collectively), who have collectively engaged in a fraudulent scheme to purposefully miscalculate

interest due and owing on residential mortgages in order to obtain vastly inflated payouts from

court-ordered foreclosure sales which, in turn, deprived Plaintiff and Class members of their

legal right to be awarded surplus monies resulting from said sales.

       12.      Defendants facilitate this scheme by submitting deceptive documentation to New

York Courts in the hopes that court personnel and court-appointed individuals will blindly

approve and sign them as a rubber stamp. With these deceptive filings, the Defendants’

unlawfully obtain foreclosure surplus monies from homeowners, creditors and others entitled to

foreclosure auction surplus monies.

       13.      Upon information and belief, Defendant Select Portfolio Servicing (hereinafter

“Select Portfolio Servicing” or “SPS”) and John and Jane Doe Investors 1-10, coordinate with

Defendant Eckert, Seamans, Cherin and Mellott, LLC (hereinafter “Eckert” or “ESCM”) to draft

and review these deceptive documents with the intention, understanding or objective to

prematurely utilize the final monetary judgment award to the noteholder Defendant Deutsche

Bank National Trust Company (hereinafter “Deutsche Bank”) awarded in a court’s Judgment of

Foreclosure and Sale (hereinafter the “JFS”) in calculating improper compound interest accrued

on a mortgage loan before the JFS was actually entered in violation of CPLR §§ 5001, 5002,

5003 and N.Y. General Obligation Law § 5-527.

       14.      More specifically, Plaintiff has found that SPS and Eckert have purposefully and

unlawfully submitted pre-drafted referee’s reports of sale in state and/or federal courts that

charge unlawful, compound interest that vastly inflates the amounts owed to the foreclosing



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plaintiffs. The pre-drafted referee’s report charges compound interest from the time between

Eckert filing a motion for the entry of a JFS and the actual granting and entry of the JFS by the

court (the “Motion Determination Period”). Eckert and SPS use the already-determined JFS

amount as the basis for the calculation of interest in the Motion Determination Window instead

of using the legal basis of the mortgage principal. In some instances, the difference in the

purported judgment and the proper judgment are well in excess of one hundred thousand dollars.

       15.       In the instant matter Deutsche Bank itself purchased the property under

circumstances that amount to theft. Specifically, the successful bidder at the foreclosure auction

was a non-party defendant that bid $785,000.00 for the property being foreclosed upon. After

motion practice between the successful bidder and bank, the bidder eventually assigned their bid

to Deutsche Bank. Later, the referee reported to have sold the property to Deutsche Bank for the

staggeringly lower amount of $207,071.28 with no explanation as to why the purchase price

dropped nearly six hundred thousand dollars.

       16.       There is no uncertainty here: the Defendants have systematically stolen from the

Plaintiff and all others that are entitled to surplus monies in this matter and have used the color of

law to achieve this goal. The Plaintiff is not alone. This is a widespread crisis caused by nothing

more than greed.

                                 JURISDICTION AND VENUE

       17.       Defendants conduct business in the State of New York, and Defendants’ fraud

upon Plaintiff was coordinated in this District. Venue is proper in this District.

       18.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1337,

and under 15 U.S.C. § 1692k(d).

       19.       This Court has jurisdiction under 28 U.S.C. § 1332(c) as there is complete



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diversity of citizenship between the parties, and the amount in controversy exceeds $75,000.00.

       20.       This Court has jurisdiction over the New York state law claims pursuant to 28

U.S.C. § 1367.

       21.       This Court also has jurisdiction over all the claims under 28 U.S.C. § 1332(d),

the Class Action Fairness Act of 2005 (“CAFA”), in that “the matter in controversy exceeds the

sum or value of $5,000,000, exclusive of interests and costs, and is a class action in which . . .

any member of a class of plaintiffs is a citizen of a state different from any defendant.”

                                              PARTIES

  I.   PLAINTIFF

       22.       Plaintiff is an individual residing in the state of New York, Queens County. Ms.

Bidar is a consumer as that term is defined by 15 U.S.C. § 1692a(3). She is a legal guardian

appointed to Ruth Athill, who is Ms. Bidar’s mother. Defendants initiated and maintained at least

one action against Ruth Athill alleging claims related to consumer debt.

 II.   DEFENDANTS

       23.       Defendant Deutsche Bank maintains its principal place of business in the State

of California and conducts business in the State of New York.

       24.       Defendant Select Portfolio Servicing is a mortgage servicing corporation that

maintains its headquarters and principal place of business in the State of Utah. Select Portfolio

Servicing, Inc. does business in New York. Select Portfolio Servicing regularly attempts to

collect debts alleged to be due to another.

       25.       Defendant Eckert is a Pennsylvania limited liability company with its principal

place of business located at 600 Grand Street, 44th Floor, Pittsburgh, Pennsylvania 15219. Eckert

conducts business in the state of New York. Eckert has been retained by Deutsche Bank to



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collect on consumer debt that Deutsche Bank claims to own. Pursuant to that retention, Eckert

files and maintains actions in New York State courts seeking debt collection. As part of the filing

of each such case, Eckert, as it is obligated to do under New York State law, includes a

certification pursuant to Rules of the Chief Administrator of the Courts (22 NYCRR) § 130-1.1a.

        26.     The John and Jane Doe Investors 1-10, whose name and identities are unknown

to Plaintiff and such names being fictitious, are individuals who invest in mortgage trusts and

notes. Upon information and belief, each of the John and Jane Doe Investors 1-10 are citizens of

a jurisdiction different than the State of New York.

        27.     The John and Jane Does 1-10, whose name and identities are unknown to

Plaintiff and such names being fictitious, are individuals who served or currently serve in

management roles with decision-making authority at Eckert. Upon information and belief, each

of the John and Jane Does 1-10 are citizens of a jurisdiction different than the State of New

York.

                                              FACTS

  I.    HOW THE FORECLOSURE PROCESS WORKS IN NEW YORK STATE

        a. The Participants to the Fraud

        28.     There are four key “participants” who propel the foreclosure process.

        29.     The first player is the entity that holds the original mortgage note and agreement

and, as such, has standing to commence a foreclosure action. These entities are oftentimes

referred to as the “noteholders” and serve as the plaintiffs in their respective foreclosure actions.

Typically, as can be seen in Plaintiff’s case herein, noteholders are often comprised of bank

trusts and other institutions which are assigned a note and mortgage from the original lender. In

the instant matter, Deutsche Bank is the noteholder.



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       30.        The second player is the mortgage servicing agent. A mortgage servicing agent

or company is the entity that manages individual loans for the noteholder. These mortgage

servicers keep track of payments, issue notices, implement late fees and perform other services

necessary to maintain a mortgage agreement. In a foreclosure action, mortgage servicers will

submit sworn affidavits from officers or managing members attesting to the specific facts of the

foreclosure case, such as the outstanding balance on the loan and how much interest has accrued.

Importantly, it is the mortgage servicer, not the plaintiff, who submits calculations and ledgers to

the court outlining how much is due on any given loan. In the instant matter, Select Portfolio

Servicing is the mortgage servicing agent.

       31.        The third players are the law firm and their partners, associates and office

personnel with decision making authority. Law firms representing noteholders seeking to

foreclose on a mortgage note, review and submit all documentation to the court. Upon

information and belief, law firms for foreclosure plaintiffs work with both the noteholders and

mortgage servicing agents to draft necessary documents and produce reports of how much is due

and owing on the mortgage agreement. In the instant matter, Eckert is the law firm.

       32.        The fourth player is the investor. The investors are the ultimate beneficiary of

the loan. Upon information and belief, these investors have substantial decision-making authority

in every aspect of how the loan is serviced, prosecuted and eventually collected.

       b. The Process

       33.        To understand Defendants’ illegal conduct in this matter, one must understand

the basic mechanics of the foreclosure process:

             i.   Once a borrower defaults on her mortgage payments and is sent the requisite 90

                   Day Pre-Foreclosure Notice required by New York’s Real Property and



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                Proceedings Law (“RPAPL”) Section 1304, a noteholder may commence a

                court case against the borrower to foreclose on the mortgage agreement.

        ii.    A foreclosure action is formally begun when the noteholder files a summons and

                complaint, which alleges, inter alia, the principal balance owed on the

                mortgage loan and the date of an alleged default.

        iii.   Depending on whether the borrower formally appears and answers the summons

                and complaint, the law firm then typically files a motion for summary

                judgment or default judgment and simultaneously asks for an order of

                reference. If granted, the matter is referred to a court-appointed referee to

                calculate the amounts owed on the mortgage, plus any costs and fees.

        iv.    The court-appointed referee then files a report outlining the amounts due and

                owing on the outstanding mortgage either up to the date the report is filed with

                the court or soon before (the “Referee’s Report”).

         v.    After this report is provided to the law firm, the noteholder must make a motion

                to confirm the Referee’s Report and for a judgement of foreclosure and sale. In

                this motion, the noteholder, oftentimes through its servicing agent and

                attorney, attests to reviewing all relevant documents and their accuracy. There

                are a few points to note about these motions and how law firms typically

                prepare one:

                     •    Law firms draft, review and submit all portions of this motion,

                          including an attached proposed order granting the relief the plaintiff

                          is seeking from the court. Upon information and belief, these

                          proposed orders are typically drafted from templates the law firms



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                           have on file and are rarely reviewed by an attorney.

                     •     Notably, these proposed orders award a judgment amount matching

                           the one provided on the Referee’s Report and state to compute

                           interest on this judgment amount at the mortgage note rate from the

                           date the Referee’s Report was issued, not the date the judgment was

                           actually entered by the court.

        vi.    The presiding judge then makes a determination on the noteholder’s motion and,

                if the motion is granted, signs off on the proposed order submitted by the law

                firms and enters the judgment of foreclosure and sale. It should be noted that in

                a majority of foreclosure cases, the court merely signs the bottom of the

                proposed order submitted by the law firms and makes no adjustments. Once

                the judgment of foreclosure and sale is entered, the noteholder can then

                proceed to auction the real property encumbered by the mortgage.

       vii.    The noteholder and court personnel then arrange for a public auction to be held

                by the court-appointed referee and, on a sale date scheduled by the court, the

                encumbered property is either sold to the highest bidder or, in some instances,

                to the noteholder itself.

       viii.   The winning bidder, thereafter, remits a down payment of ten percent of the

                purchase price to the referee and schedules a final closing date. At the closing,

                the winning bidder remits the remainder of the purchase price to the court-

                appointed referee, and the deed to the foreclosed property is conveyed to the

                winning bidder.

        ix.    For the final step, the court-appointed referee issues a Referee Report of Sale,



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                  wherein the referee reports that the foreclosed property was sold, how much it

                  was sold for, how much is owed to the noteholder and how much, if any,

                  surplus monies remain.

          x.     If there are surplus monies, creditors of the borrower are permitted to file proofs

                  of claim and, if approved by the referee, some or all of the surplus monies are

                  distributed to those creditors that file a claim.

          xi.    If, after any creditors entitled surplus have received their distribution of the

                  surplus, there remains surplus monies, these remaining monies are paid to the

                  borrower, their estate or their assignee.

         xii.    After all the proceeds from the sale are allocated and released to the appropriate

                  parties, the foreclosure action concludes, and the referee is discharged of her

                  duties.

       c. The Interest Calculations

             i. Background on Interest

       34.       New York’s Civil Practice Laws and Procedures (“CPLR”) permits interest to

accrue during the pendency of any action seeking a monetary award. Sections 5001, 5002, 5003

and 5004, of the CPLR set the rules governing when interest begins to accrue, how much interest

is permitted to accrue, and how said interest is to be computed during the various stages of

litigation. Additionally, compound interest is generally prohibited from being applied in

residential foreclosure actions under N.Y. Gen. Oblig. Law § 5-527.

       35.       New York Practitioners and legal scholars have, for the purposes of simplifying

the topic’s rhetoric, divided the accrual of interest during the pendency of a proceeding into three

periods: Category I interest, Category II interest, and Category III interest. See David D. Siegel,



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NEW YORK PRACTICE § 411 (6th ed. 2024); Hon. Mark C. Dillon, Practice Commentary,

MCKINNEY’S CONS. LAW OF N.Y., 2023 Electronic Update, CPLR. § 5002. In simple terms, the

categories of interest are as follows:

             •     Category I interest is the interest accrued on the cause of action from the time

                   it accrues until the time of verdict, decision or judgment. See Mark C. Dillon,

                   Practice Commentary, MCKINNEY’S CONS. LAW OF N.Y., 2023 Electronic

                   Update, CPLR. § 5002; see CPLR. § 5001.

             •     Category II interest is the interest accrued between the time a decision or

                   verdict is rendered and the entry of a final judgment. See id.; see also CPLR §

                   5002. This category is typically irrelevant in foreclosure actions, unless there is

                   a trial.

             •     Category III interest is the interest that accrues upon a judgment from the date

                   of its entry until it is paid. See id.; see CPLR § 5003.

       36.       Unless an exception applies, the statutorily set interest rate of nine percent is

applied to both Category II and Category III interests. See CPLR § 5004. Since a foreclosure

action is one born out of contract, New York Courts mandate prejudgment interest to be

calculated at the contractual rate rather than the statutory rate. NYCTL 1998-2 Trust v. Wagner,

61 A.D.3d 728, 729 (2d Dep’t 2009); Marine Mgt. v. Seco Mgt., 176 A.D.2d 252, 253 (2d Dep’t

1992), affd. 80 N.Y.2d 886. As such, Category I interest in a foreclosure action is typically

calculated at the rate specified in the mortgage agreement. NYCTL 1998-2 Trust, 61 A.D.3d at

729.

       37.       The timing of when and how certain rates of interest apply is equally as

important as the rates of interest themselves. CPLR § 5001(c) states, in relatively plain terms,



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“[t]he amount of interest shall be computed by the clerk of the court, to the date the verdict was

rendered or the report or decision was made, and included in the total sum awarded.” In other

words, Category I interest is applied up until the date of a verdict, report or decision. Thereafter,

Category II and III interests take over. It is crucial to note that a special referee’s report with

recommendations only, rather than a final verdict or determination, is not considered a “verdict,

report or decision” under CPLR § 5001. See Board of Managers of 25th Charles St. Condo v.

Seligson, 126 A.D.3d 547, 548-549 (1st Dep’t 2015) (citing Matter of East Riv. Land Co., 206

N.Y. 545, 549 (N.Y. 1912); Weinstein–Korn–Miller, NEW YORK CIVIL PRACTICE, ¶ 5002.03 (2d

ed. 2014)). In such cases with a special referee, Category I interest runs until the date the court

confirms the referee’s report, not the date of the referee’s report itself. See id. at 548-549

(“When, as here, a court orders a special referee to hear and report with recommendations,

interest pursuant to CPLR 5002 runs from the date the court confirms the Referee's report, not

the date of the report”). Once a court enters a decision confirming the referee’s report, then

Category II and III interests apply.

             ii. How Interest Should be Computed in Foreclosure Actions

       38.       When applying the above rules to a mortgage foreclosure action, calculating the

interest owed at the conclusion of the action is relatively simple.

       39.       From the date of the commencement of the action until the date a court confirms

the referee’s report of amounts due and enters a judgment of foreclosure and sale, Category I

interest accrues, and interest is computed via a simple interest calculation utilizing the rate of

interest in the mortgage agreement.

       40.       After a court issues a decision confirming the referee’s report and entering a

judgment of foreclosure and sale, Category III interest accrues, and interest is computed at the



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statutory interest rate of nine percent on the final judgment amount entered by the court. This

interest accrues until the mortgage principal is satisfied, either via a sale of the secured property

or by other means.

       41.       As discussed supra, in the New York State Court System, there is often a

significant gap of time between the date a referee issues her report and the date a court enters a

decision confirming said report and a judgment of foreclosure and sale. This is because a

plaintiff, after the referee issues her report, must move the court to confirm this report and enter a

judgment of foreclosure and sale. As such, between the date of the referee’s report and the date a

final judgment of foreclosure and sale is entered, Category I interest still accrues. This gap of

time, however, is oftentimes not accounted for in a court’s confirmation of the referee’s report

and final judgment, as the court has only been moved to confirm the report up until the date it

was issued.

       42.       To properly account for this gap (hereinafter the “Motion Determination

Period”), the party calculating interest at the conclusion of a foreclosure action must calculate the

simple interest accrued on the principal (i.e. Category I interest) during the Motion

Determination Period. This is because a final judgment has not yet been entered in the action

during this time period. As such, a party cannot collect compound interest on a sum that has not

yet been determined as actually due and owing to them.

       43.       The party then must calculate the statutory interest owed on the confirmed

judgment amount from the date of the judgment of foreclosure and sale until the principal is

satisfied (i.e. Category III interest). These two amounts then add up to the total interest owed on

the outstanding mortgage principal.

It should be noted that Category II interest does not typically get applied in foreclosure actions



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which are decided summarily. This is because, when issuing a decision on a motion, a court will

issue a decision and have it be entered on the same day. As such, there is no gap between the

decision of the court and the entry of that decision, and Category II interest is not implicated

       44.      See below for a visual outlining how interest should be computed during the life

of a foreclosure action:


                             Category I Interest                                Category III Interest
                             (Simple interest on                                   (9% interest on
                                 principal)                                      judgment amount)




                                                   The “Motion
                                               Determination Period”




  Foreclosure                                                        Court grants             Property is
  Action                                                              motion and          auctioned and
  Commences                                                              enters            final amounts
                                                                     judgment of          due and owing
                       Referee Report          Motion to              foreclosure         are calculated
                        of Amounts              Confirm                 and sale           and dispersed
                            Due                  Referee
                                              Report and
                                             for judgment
                                             of foreclosure
                                                and sale


                                                              * Category II interest is inapplicable to
                                                              these matters




 II.   THE DEFENDANTS’ SYSTEMATIC THEFT OF SURPLUS MONIES

       45.      The situation Plaintiff complains of is as follows:

       46.      A court-appointed referee issues a Referee’s Report of the amounts owed by a

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borrower on a mortgage loan. This report, understandably, only computes interest up until the

date the report is actually issued. Therefore, the Referee’s Report recommends that a court enter

a judgment confirming that the plaintiff is owed the computed amount as of the date of the

Referee’s Report.

       47.      The law firms then move the court to confirm the Referee’s Report and issue a

Judgment of Foreclosure and Sale. These law firms, however, draft and submit proposed orders

attached to these motions which include language awarding illegal compound interest to the

noteholders. The law firms, through the façade of legitimacy, treat the Referee’s Report as if it is

the court’s own judgment awarding monies to the noteholders and direct that interest be

computed on the final judgment award from the date the Referee’s Report was issued.

       48.      The issue with such a practice is two-fold.

       49.      First, law firms are treating the Referee’s Report as if it is a final money

judgment or order under CPLR § 5003, and improperly computing interest thereon from the date

the report is issued. However, the Referee’s Report is merely a recommendation to the court of

what amounts should be paid to a noteholder in the event a Judgment of Foreclosure and Sale is

entered. This characterization of the Referee’s Report is not only evident in New York case law,

as discussed supra, but is evident from the foreclosure procedure itself; even after a Referee’s

Report is issued, noteholders must still move the court to confirm said report. If judicial review

and confirmation were not necessary, and a Referee’s Report alone served as a judgment, then

such a motion would not be required.

       50.      Second, law firms are knowingly fabricating a method of computing interest

entirely unsupported by the CPLR and New York State law while purporting it to be logical. For

instance, if law firms were (1) mistakenly construing the Referee’s Report as a final judgment



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under CPLR § 5003 or (2) considering the Motion Determination Period at the time between a

final report and entry of judgment under CPLR § 5002, which would entitle the noteholders to

the statutory interest rate of 9%. Such constructions, while still improper, would nonetheless

have some basis in the CPLR. However, law firms are crafting proposed orders to state that

interest is to be computed at the rate provided for in the original mortgage loan agreements, rates

which are oftentimes much lower than 9%. Furthermore, law firms know that noteholders are

entitled to statutory interest because at the conclusion of a foreclosure case, law firms submit

documentation calculating interest from the date of the entry of the Judgment of Foreclosure and

Sale as 9%.

       51.      Finally, as further evidence of the law firms’ fraudulent intentions, upon

information and belief, these law firms instruct their attorneys and employees to calculate

interest via the fraudulent method described herein. Specifically, law firms utilize pre-written

and approved manuals containing step-by-step guides on how to calculate interest and amounts

owed in foreclosure actions. These instruction manuals are to be followed by every employee

and agent of said law firms.

       52.      It can only be deduced that law firms, along with noteholders and mortgage

servicing agents, are knowingly submitting proposed orders to courts which they know will

superficially appear to be correct and lawful. These law firms, being specialized and experienced

in plaintiff-side foreclosure litigation, know that such documentation will not be scrutinized at

the level required to uncover their deceit. The noteholders and mortgage servicing agents reap

the rewards of this crafty deception by receiving tens of thousands of dollars more than they

would be owed if interest had been computed correctly. Most egregiously, borrowers, who are

already facing foreclosure, are being deprived of any surplus monies arising from the auction of



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their homes.

        53.      Further, and even more painfully, upon information and belief, the homeowners

who had no surplus were reported to the IRS for forgiveness of debt, subjecting them to

additional liability after being foreclosed upon.

III.    INDIVIDUAL PLAINTIFF FACTS

        54.      Ruth Athill is an 87-year old woman who has resided in Queens County, New

York for over fifty years.

        55.      Before the occurrences giving rise to the instant complaint, Ruth Athill resided

with her sister, Ada Athill.

        56.      On or about September 30, 1969, Ada and Ruth Athill purchased the property

located at 89-25 168th Street, Jamaica, NY 11432 (hereinafter the “Subject Property” or “Subject

Premises”), as tenants-in-common.

        57.      Ruth and Ada owned and resided at the Subject Property together without issue

for thirty-five years.

        58.      In or around the early 2000s, the sisters’ health began deteriorating and both

became more reliant on family members for assistance in their everyday lives.

        59.      On or about June 24, 2004, unbeknownst to Ruth Athill, a deed was executed

transferring Ruth’s interest in the Subject Property to Ada, making Ada the sole owner of the

Subject Property.

        60.      On the very same day, a mortgage was recorded wherein Ada Athill took out a

mortgage with non-party New Century Mortgage Company in the amount of $75,000.00, which

was secured by the Subject Property (hereinafter the “Subject Mortgage”).

        61.      Upon information and belief, Ada Athill’s children orchestrated this deed



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transfer and mortgage agreement to receive the monetary benefit of the Subject Mortgage

proceeds.

       62.      After learning of this fraudulent scheme, on or about April 17, 2007, Ruth Athill

commenced an action against Ada Athill in the Supreme Court of the State of New York, County

of Queens, under Index No. 9797/2007, seeking, inter alia, to restore her ownership interest in

the Subject Property and to receive some portion of the monetary proceeds from the Subject

Mortgage.

       63.      On or about June 20, 2008, this action was resolved, in part, when Ada Athill

executed a deed wherein she transferred her entire interest in the Subject Property to herself and

Ruth Athill, effectively restoring Ruth’s interest in the Subject Property.

       64.      Despite Ruth having restored her interest in the Subject Property, she was unable

to remove the Subject Mortgage from the Subject Property despite it having been executed

without her knowledge or consent.

       65.      As Ada’s physical health continued to decline, and with Ruth’s mental state

deteriorating as she grew older, the sisters fell severely behind on the Subject Mortgage

payments.

       66.      On or about June 8, 2010, non-party New Century Mortgage Company assigned

the Subject Mortgage to Deutsche Bank.

       67.      On or about June 14, 2010, a Notice of Pendency and Foreclosure Complaint

was filed against Ada Athill and Ruth Athill in the Supreme Court of the State of New York,

County of Queens, under Index No. 15202/2010, seeking, inter alia, to foreclose on the Subject

Property (hereinafter the “Athill Foreclosure Action”).

       68.      On or about June 1, 2015, Eckert was substituted as the attorneys-of-record for



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Deutsche Bank.

        69.      On or about April 29, 2019, Deutsche Bank, through its attorney Eckert, filed a

notice of motion for summary judgment and order of reference in the Athill Foreclosure Action.

        70.      On or about October 24, 2019, Deutsche Bank’s motion for summary judgment

and an order of reference was granted by the court.

        71.      On or about January 3, 2020, the court-appointed referee, Martha Taylor, Esq.,

submitted a Referee’s Report of Amount Due which incorporated and affirmed the amounts due

and owing on the Subject Mortgage to be $167,773.01. Josie Syphus, on behalf of SPS, testified

through the annexed “Affidavit of Amounts Due” that the principal balance of $69,554.84

remained on the Subject Mortgage. In addition, there was $33,932.83 in outstanding interest,

$62,799.64 due on “Escrow Advances,” and $1,485.70 due for “Advances Made on Defendant’s

Behalf.” As such, $167,773.01 remained outstanding on the Subject Mortgage as of January 3,

2020.

        72.      On or about February 21, 2020, Deutsche Bank filed a notice of motion for a

judgment of foreclosure and sale in the Athill Foreclosure Action. Upon information and belief,

attached to this motion was a proposed order drafted by Eckert that was either identical or

substantially similar to the JFS entered by the court on May 27, 2022.

        73.      On or about May 27, 2022, the court granted Deutsche Bank’s motion and

entered a JFS, finding that $167,773.01 was due and owing on the Subject Mortgage.

        74.      On or about May 26, 2023, the Subject Property was sold via public auction for

$785,000.00, to non-party Our New Dream, LLC.




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       a. Defendants’ Improper Interest Calculations

       75.      As discussed broadly, supra, a foreclosure action does not end immediately after

the foreclosed property is sold. The court, through its appointed referee, must determine and

distribute any surplus monies from the sale or, in the alternative, decide what deficiencies exist.

After such computation is complete, a “Referee’s Report of Sale” is filed with the court,

outlining when the property was sold, how much it was sold for, how much is owed to the

plaintiff to date and how much surplus monies or deficiencies are remaining.

       76.      On or about September 17, 2024, the Referee’s Report of Sale for the Athill

Foreclosure Action (hereinafter “Athill Report of Sale”) was filed with the court which revealed

the Defendants’ fraudulent scheme.

       77.      The Athill Report of Sale proffered the following calculations used to determine

how much was finally due and owing to Deutsche Bank.




                         (Remainder of page intentionally left blank)




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          78.    As can be seen above, Defendants flagrantly utilize the amount awarded in the

JFS on May 27, 2022 to compute the amount of interest owed during Motion Determination

Period.

          79.    Specifically, Defendants utilize the final judgment amount of $167,773.01,

which already includes interest at the Subject Mortgage rate up until January 3, 2020, and

computes interest at the Subject Mortgage interest rate using the judgment amount as its basis

instead of the principal.

          80.    As discussed supra, the amount due and owing on a mortgage is not finally


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determined until a court enters a JFS. Only then is a final judgment awarded to a plaintiff, and

only then can a plaintiff begin to compute interest occurring on the final judgment amount. Here,

Defendants prematurely utilize the final judgment amount to compute the pre-judgment interest

accrued.

       81.       To be clear, the legal way to compute interest due and owing at the end of the

Athill Foreclosure Action during the Motion Determination Period would be as follows:


 Amount due on note and mortgage, as per judgment, together with interest to January 3,
 2020, the date interest was calculated to in said Referee’s Report                       $167,773.01

 Interest from 1/3/20 to 5/4/22, date of judgment, to wit: $69,554.84 (principal amount
 due on note and mortgage) x 6.250% (interest rate on note and mortgage) = 4,347.18
 (annual interest)/365 days = $11.91 (per diem) x 852 days =                               $10,147.39

 Interest from 5/5/22, as per judgment, to 5/26/23, date of closing, to wit:
 $167,773.01 (amount due per judgment) + $10,147.39 (interest accrued on principal
 during Motion Determination Period) = $177,920.40 x 9.00% (statutory interest rate per
 annum) =$16,012.84/365 = $43.87 (per diem) x 386 days =                                   $16,934.13

 Cost and disbursements Awarded to Plaintiff                                                  Waived

 Additional Allowances                                                                       $300.00

 Attorneys’ Fees Awarded in Judgment                                                          Waived

 Referee’s Fee                                                                               $750.00

 Advertising Expenses for Notices of Sale set for:
 (5/26/23)                                                                                  $1,624.00

 Total Due Plaintiff                                                                      $197,528.53

 Amount of Bid/Purchase Money                                                             $207,071.28

 TOTAL SURPLUS                                                                              $9,542.75



       82.       By utilizing Eckert’s improper calculation methods, Deutsche Bank was

awarded $210,881.41 instead of the correct amount of $197,528.53, or $13,352.88 more than it is

entitled to on the Subject Mortgage.

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       b. Defendants’ Improper Reduction of The Bid Amount

       83.      The Defendants’ fraud did not end there.

       84.      As indicated supra, on or about May 26, 2023, the Subject Property was sold via

public auction for $785,000.00, to non-party Our New Dream, LLC (“hereinafter “Our New

Dream”). However, Our New Dream never closed on the Subject Property.

       85.      Upon information and belief, Our New Dream no longer wanted to purchase the

Subject Property and negotiated with and ultimately assigned its winning bid to Deutsche Bank

on or about May 15, 2024.

       86.      On or about October 16, 2024, the referee issued a Referee’s Report of Sale

which indicated that Deutsche Bank had purchased the Subject Property for $207,071.28.

       87.      With no explanation as to how or why the Subject Property sold for such a small

figure, Deutsche Bank, after being assigned the winning bid of $785,000.00, purchased the

Subject Property for $577,928.72 less than that amount, money that was taken from an elderly

borrower’s pocket.

       88.      Conveniently, Deutsche Bank purchased the Subject Property for only $3,810.13

less than what it claimed it was owed in the Referee’s Report of Sale.

       89.      As such, neither the borrowers nor their creditors were able to recover any

surplus monies from the sale.

                                    CLASS ALLEGATIONS

       90.      This action is brought on behalf of Plaintiff individually and as a class action on

behalf of the following class (“Class”):

                (a) all persons sued, or creditors of such persons or lienholders of liens
                against the property that was the subject of the foreclosure action in
                question, in state-court lawsuits related to the collection of debt owed
                on a mortgage loan document secured by real property, (b) that were

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                   sold at auction, (c) in which Eckert was identified as counsel for the
                   plaintiff in the complaint, (d) within six years of the date of the filing of
                   this action. Excluded from the Class are the officers and directors of any
                   Defendant, members of their immediate families and their legal
                   representatives, heirs, successors or assigns, and any entity in which any
                   Defendant has or had a controlling interest, at all relevant times.

       91.         While the exact number of Class members can only be determined through

appropriate discovery, Plaintiff has reviewed the dockets of foreclosure actions prosecuted by

Eckert and believes that there are hundreds of members of the Class.

       92.         Plaintiff’s claims are typical of the claims of the other members of the Class, as

all members of the Class are similarly affected by Defendants’ wrongful conduct, as complained

of herein.

       93.         There are common questions of law and fact affecting members of the Class,

which common questions predominate over questions that might affect individual members.

These questions include, but are not limited to, the following:

              i.   Whether Defendants filed materially deceptive motions and documentation in

                   connection with said lawsuits;

             ii.   Whether Plaintiff and the other members of the Class are entitled to damages,

                   including punitive damages, costs, and/or attorneys’ fees, for Defendants’ acts

                   and conduct as alleged herein, and the proper measure thereof.

         iii.      Whether the Defendants deprived the Plaintiff and other members of the Class of

                   surplus funds they were entitled via the deceptive filings

       94.         Plaintiff will fairly and adequately represent the other members of the Class.

Plaintiff has no interests that conflict with the interests of other Class members. Plaintiff has

retained counsel competent and experienced in the prosecution of class action litigation.

       95.         A class action is superior to all other available methods for the fair and efficient

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adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members might be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        96.       Members of the Class can be identified from records maintained by Defendants,

and can be notified of the pendency of this action by United States mail using a form of notice

customarily used in similar class actions.

                         AS AND FOR A FIRST CAUSE OF ACTION
                       (FAIR DEBT COLLECTION PRACTICES ACT)
                                 (Against All Defendants)

        97.       Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

        98.       Plaintiff is a “consumer,” as that term is defined by the Fair Debt Collection

Practices Act (“FDCPA”), see 15 U.S.C. § 1692a(3). Deutsche Bank and Select Portfolio

Servicing are “debt collectors,” as defined by the FDCPA, see 15 U.S.C. § 1692a(6).

        99.       The FDCPA was enacted to stop “the use of abusive, deceptive, and unfair debt

collection practices by many debt collectors.” 15 U.S.C. § 1692(a).

        100.      The FDCPA identifies sixteen specific, nonexclusive prohibited debt collection

practices, and generally prohibits a debt collector from “us[ing] any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” Among the

acts prohibited are: the false representation of “the character, amount, or legal status of any

debt,” 15 U.S.C. § 1692e(2)(A); “[t]he false representation or implication . . . that any

communication is from an attorney[,]” 15 U.S.C. § 1692e(3); “[t]he threat to take any action that


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cannot legally be taken or that is not intended to be taken[,]” 15 U.S.C. § 1692e(5);

“[c]ommunicating . . . credit information which is known or which should be known to be

false[,]” 15 U.S.C. § 1692e(8); and “[t]he use of any false representation or deceptive means to

collect or attempt to collect any debt[,]” 15 U.S.C. § 1692e(10).

       101.      The FDCPA also prohibits debt collectors from “us[ing] unfair or

unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

       102.      Defendants violated the FDCPA by making false and misleading representations,

using deceptive means and engaging in unfair and abusive practices. Defendants’ violations

include, but are not limited to, the following:

         i.     Filing deceptive motions and documentation in foreclosure actions against

                Plaintiff and the other members of the class, as described herein, that were

                fraudulent and misleading in that they were drafted, reviewed and submitted to

                a court with the understanding that the interest calculations contained therein

                illegally inflated the amount of monies due and owing to Defendants;

        ii.     Filing motions and referees’ reports of sale as described herein, that were

                fraudulent, deceptive and misleading in that they were drafted, reviewed and

                submitted to a court with the understanding that the interest calculations

                contained therein illegally inflated the amount of monies due and owing to

                Defendants;

       iii.     Decreasing the bid amount after becoming the successful bidder or being

                assigned a winning bid at a set bid amount.

        iv.     Collecting monies incidental to the principal obligations under mortgage loan

                agreements without being expressly authorized by the original mortgage loan



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                  agreement to do so.

       103.       The acts and practices herein set forth were deceptive, misleading and

fraudulent.

       104.       Plaintiff and the Class have been damaged as a result of these violations and are

entitled to relief as provided for by 15 U.S.C. § 1692k.

                        AS AND FOR A SECOND CAUSE OF ACTION
                               (N.Y. GEN. BUS. LAW § 349)
                                  (Against All Defendants)

       105.       Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

       106.       Plaintiff is a New York consumer entitled to the protection afforded under

Article 22-A of the General Business Law (“GBL”), entitled “Consumer Protection from

Deceptive Acts and Practices.”

       107.       GBL § 349 provides that “[d]eceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service in [New York] are hereby

declared unlawful.”

       108.       A GBL § 349 cause of action accrues when consumer-oriented conduct would be

deceptive and materially misleading to a reasonable consumer and causes damages.

       109.       Defendants’ acts and omissions are directed at consumers and include, but are

not limited to:

         i.       Filing deceptive motions and documentation in foreclosure actions against

                  Plaintiff and the other members of the Class, as described herein, that were

                  fraudulent and misleading in that they were drafted, reviewed and submitted to

                  a court with the understanding that the interest calculations contained therein



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                illegally inflated the amount of monies due and owing to Defendants;

         ii.    Filing motions and referees’ reports of sale as described herein, that were

                fraudulent, deceptive and misleading in that they were drafted, reviewed and

                submitted to a court with the understanding that the interest calculations

                contained therein illegally inflated the amount of monies due and owing to

                Defendants;

        iii.    Decreasing the bid amount after becoming the successful bidder or being

                assigned a winning bid at a set bid amount.

       110.      The acts and practices herein set forth were deceptive, misleading and

fraudulent. As a result of such practices, Plaintiff and the other members of the Class were

injured, suffered damages, and are entitled to relief as provided for by GBL § 349(h).

                      AS AND FOR A THIRD CAUSE OF ACTION
                 (VIOLATIONS OF NEW YORK JUDICIARY LAW § 487)
                                 (Against Eckert)

       111.      Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

       112.      New York Judiciary Law § 487 provides as follows: “An attorney or counselor

who . . . [i]s guilty of any deceit or collusion, or consents to any deceit or collusion, with intent

to deceive the court or any party . . . [i]s guilty of a misdemeanor, and in addition to the

punishment prescribed therefor by the penal law, he forfeits to the party injured treble damages,

to be recovered in a civil action.”

       113.      As set forth above, Eckert violated New York Judiciary Law § 487 by engaging

in a chronic, persistent pattern of conduct with the intent to deceive consumers and multiple New

York courts. Eckert’s violations include, but are not limited to:



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         i.     Filing deceptive motions and documentation in foreclosure actions against

                Plaintiff and the other members of the Class, as described herein, that were

                fraudulent and misleading in that they were drafted, reviewed and submitted to

                a court with the understanding that the interest calculations contained therein

                illegally inflated the amount of monies due and owing to Defendants;

        ii.     Filing motions and referees’ reports of sale as described herein, that were

                fraudulent, deceptive and misleading in that they were drafted, reviewed and

                submitted to a court with the understanding that the interest calculations

                contained therein illegally inflated the amount of monies due and owing to

                Defendants;

       iii.     Decreasing the bid amount after being assigned a winning bid at a set bid

                amount.

       114.     As a result of Eckert’s deceitful and fraudulent conduct, Plaintiffs and the other

members of the Class have been injured. Plaintiff and the Class are entitled to relief, as provided

for by New York Judiciary Law § 487, in an amount to be determined at trial.

                      AS AND FOR A FOURTH CAUSE OF ACTION
                         (CIVIL RICO, 28 U.S.C. § 1962(c) & (d))
                                (Against All Defendants)

       115.     Plaintiff hereby restates, re-alleges, and incorporates by reference all foregoing

paragraphs.

       116.     Plaintiff is a natural person, and as such is a “person” within the meaning of 18

U.S.C. § 1961(3).

       117.     Defendants are natural persons and corporate entities, and as such are “persons”

within the meaning of 18 U.S.C § 1961(3).



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  I.     THE ENTERPRISE

         118.   Upon information and belief, Deutsche Bank, Select Portfolio Servicing, the

John and Jane Doe Investors 1-10 and Eckert (including John and Jane Does 1-10) comprise four

distinct groups of persons that together form an Enterprise within the meaning of 18 U.S.C. §

1961(4). Each and every defendant is employed by or associated with the Enterprise, as defined

infra.

         119.   Upon information and belief, each defendant, Deutsche Bank, Select Portfolio

Servicing, the John and Jane Doe Investors 1-10 and Eckert, also qualify as separate and distinct

enterprises within the meaning of U.S.C. § 1961(4). Each and every Defendant has organized

themselves and the Enterprise into a cohesive group with specific and designated responsibilities

with a command structure to operate as a unit in order to accomplish the common goals and

purposes of collecting upon unlawful debts.

         120.   Upon information and belief, the individuals and entities that constitute

Deutsche Bank, Select Portfolio Servicing, Eckert, and the John and Jane Doe Investors 1-10

taken together are an association-in-fact within the meaning of 18 U.S.C. § 1961(4).

         121.   The purpose of the enterprise and/or enterprises (collectively “Enterprise”) is to

secure judgments of foreclosure and sale through fraudulent means and to use those judgments to

extract money from Plaintiff and putative Class members. This is accomplished by the John and

Jane Doe Investors 1-10, Deutsche Bank and Select Portfolio Servicing buying debts for

collection; Eckert commencing action in the Supreme Court of the State of New York or federal

court on behalf of the Deutsche Bank and Eckert providing fraudulent reports of referee of sale

in furtherance of the scheme. The relationships between the three defendants groups are

longstanding and ongoing.



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         122.   The Enterprise has for many, but no fewer than six years, been engaged in, and

continues to be engaged in, activities that affect interstate commerce. Defendants’ unlawful

Enterprise is in violation of RICO has been and remains longstanding, continuous and open

ended.

 II.     PATTERN OF RACKETEERING ACTIVITY

         123.   Defendants, individually and collectively, as an Enterprise, have engaged,

directly or indirectly, in a pattern of racketeering activity, as described below, in violation of 18

U.S.C. § 1962(c) & (d).

         124.   Defendants, acting individually and as part of the Enterprise, have devised a

scheme to defraud and obtain money or property by means of false or fraudulent pretenses and

representations. The scheme includes but is not limited to:

           i.   Producing and filing fraudulent motions for a judgment of foreclosure and sale;

          ii.   Producing and filing fraudulent Referee Reports of Sale;

         iii.   Using fraudulent, deceptive and misleading Referee Reports of Sale to obtain

                Judgments of Foreclosure and Sale against Plaintiff and Class members under

                false pretenses;

         iv.    Decreasing the bid amount after being assigned a winning bid at a set bid

                amount;

          v.    Using fraudulently obtained judgments of foreclosure and sale to steal surplus

                monies from Plaintiff and Class members;

         vi.    Using fraudulent conduct to report sales that are consistently lower in price than

                the bid at auction depriving the Plaintiff and Class members of surplus monies;

         125.   Defendants, acting individually and as part of the Enterprise, have made



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fraudulent misrepresentations on specific as follows.

           i.      On February 21, 2020, September 17, 2024, and October 16, 2024, Defendants

                   submitted fraudulent filings, as described herein, with the Supreme Court of the

                   State of New York, Queens County, falsely claiming that Deutsche Bank is

                   entitled to illegally computed compound interest and intentionally decreasing the

                   winning bid amount to eliminate surplus monies owed to Plaintiff.

       126.        The fraudulent misrepresentations listed above involving the individually named

Plaintiff are described in more detail in paragraphs 45 to 89 of this Complaint.

       127.        Defendants, acting individually and as part of the Enterprise, have utilized these

deceptive court filings with every JFS that they have fraudulently obtained, and each use of the

deceptive court filings has furthered the fraudulent scheme and enabled Defendants to take

money and property from Plaintiff and putative Class members by reasons of false pretenses and

representations.

       128.        Further, after the winning bidder becomes the owner of the property, the

Defendants have used wires and the mail to receive the unlawfully obtained monies. The

Enterprise’s conduct constitutes “fraud by wire” within the meaning of 18 U.S.C. 1343, which is

“racketeering activity” as defined by 18 U.S.C. 1961(1). The Enterprise’s repeated and

continuous use of such conduct to participate in these affairs constitutes a pattern of racketeering

activity in violation of 18 U.S.C. 1962(c).

       129.        Upon information and belief, each and every defendant has specific knowledge

that deceptive court filings are being utilized in furtherance of the overall purpose of executing

the scheme to defraud, and/or it was reasonably foreseeable that deceptive court filings would be

used to deprive Plaintiff and other Class members of their personal property. Indeed, no JFS or



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proceeds from a foreclosure sale can be obtained without these deceptive court filings.

       130.      Each of the deceptive court filings submitted in connection with Defendants’

schemes to defraud spanning a period of no fewer than six years, constitutes a separate instance

of fraud within the meaning of 18 U.S.C §§ 1341 and 1343, and, thus, a predicate act, which,

taken together, constitute “a pattern of racketeering activity” within the meaning of 18 U.S.C §§

1961 and 1962.

       131.      In connection with Defendants’ schemes, the acts of racketeering activity have

occurred after the effective date of the RICO statute, 18 U.S.C. § 1961 et seq., and on countless

occasions over a substantial time period within ten years of each other. The acts of racketeering

are an ongoing part of Defendants’ regular way of doing business. The predicate acts have been

and will be repeated over and over again.

III.   RELATIONSHIP OF PATTERN OF RACKETEERING ACTIVITY TO
       ENTERPRISE

       132.      As described, the goal of Defendants’ Enterprise is to obtain a JFS through

fraudulent means and to use those judgments to extract money and property from Plaintiffs and

putative Class members.

       133.      The pattern of racketeering activity described above is integral to Defendants’

scheme. Without submitting these deceptive court filings, Defendants would be unable to obtain

the monies they seek.

       134.      Each Defendant, individually and as a member of the Enterprise, has conducted

or participated, directly or indirectly, in the conduct of the Enterprise’s affairs through the pattern

of racketeering activity described above. Accordingly, each defendant has violated 18 U.S.C. §

1962(c).

       135.      Moreover, each Defendant, has knowingly agreed and conspired to violate the


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provisions of 18 U.S.C. § 1962(c), including the numerous predicate acts of fraud described

above, and also violation of 10 U.S.C. § 921 (Larceny), N.Y. Judiciary Law § 487 (Deceptive

Acts by Attorneys), N.Y. Penal Law § 155 (Larceny), and have thus violated 18 U.S.C. §

1962(d).

       136.      As a direct and proximate result of the RICO violations described in this

Complaint, Plaintiff and putative Class members have suffered substantial injuries. Plaintiff and

putative class members have been deprived of due process and have had foreclosure and sale

judgments entered against them which have been used to extract money from them by selling

their property, thus constituting an injury to Plaintiff’s property within the meaning of 18 U.S.C.

§ 1964, by the actions of Defendants and their co-conspirators in violation of 18 U.S.C. §

1962(c) & (d).

       137.      Defendants’ misrepresentations to the courts secured the judgments of

foreclosure and sale that caused concrete injury to Plaintiff’s property. As a result, Plaintiff and

putative Class members have suffered damage to their property within the meaning of 18 U.S.C.

§ 1964, by the actions of Defendants and their co-conspirators in violation of 18 U.S.C. §

1962(c) & (d).

       138.      Defendants’ conduct has involved and continues to pose a threat of long term

criminality since it is believed to have commenced as long as a decade ago and has continued to

the present. The pattern of racketeering activity has been directed towards hundreds of thousands

of persons, including Plaintiffs, and the pattern has spanned many years.

       139.      For the violations of 18 U.S.C. § 1962 described in this Complaint, Plaintiff and

putative Class members are entitled to recover compensatory and treble damages in an amount to

be determined at trial, and to a prospective order directing Defendants to disgorge their ill-gotten



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gains in order to deter them from engaging in similar conduct in the future.

       140.     The Enterprise is engaged in interstate commerce and uses instrumentalities of

interstate commerce in its daily business activities.

       141.     Specifically, members of the Enterprise maintain offices in New York and use

personnel in these offices to originate, underwrite, fund, assign, service and collect upon

mortgages made or purchased by the Enterprise to entities throughout the United States via

extensive use of interstate emails, mail, wire transfers and bank withdrawals processed through

an automated clearing house.

       142.     In the present case, all communications between the members of the Enterprise,

were by interstate email, mail, online state and federal court portals (New York State Courts

Electronic Filing or the Federal Case Management/Electronic Court Filing System), wire

transfers or ACH debits and other interstate wire communications. Specifically, the Enterprise

used interstate emails and court portals to submit the fraudulent court filings discussed supra.

       143.     In addition, at the direction of Defendants, each of the alleged fraudulent court

filings listed, supra, were sent from outside of New York to Enterprise offices within New York

via Federal Express or United States Postal Service to either be manually filed in the relevant

County Clerk’s office or through online court portals (New York State Courts Electronic Filing

or the Federal Case Management/Electronic Court Filing system).

IV.    INJURY AND CAUSATION

       144.     Plaintiff and putative Class members have and will continue to be injured in

their business and property by reason of the Enterprise’s violations of 18 U.S.C. § 1962(c).

       145.     The injuries to the Plaintiff and putative class members directly, proximately,

and reasonably foreseeably resulting from or caused by these violations of 18 U.S.C. § 1962(d)



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include, but are not limited to, hundreds of thousands of dollars in improperly collected surplus

monies and the unlawful entry and enforcement of judgments.

          146.   Plaintiff and putative class members have also suffered damages by incurring

attorney’s fees and costs associated with exposing and prosecuting Defendants’ criminal

activities.

          147.   Pursuant to 18 U.S.C. 1964(c), Plaintiff and putative Class members are entitled

to treble damages, plus costs and attorney’s fees from Defendants.

                         AS AND FOR A FIFTH CAUSE OF ACTION
                                      (Negligence)
                                    (Against Eckert)

          148.   Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

          149.   Eckert entered into a retainer agreement with Deutsche Bank to perform legal

work, which included writing and filing motions and other documents in the Athill Foreclosure

Action.

          150.   Eckert was responsible for the means and methods of its work.

          151.   Upon information and belief, Eckert instructs its attorneys and employees to

calculate interest with the fraudulent method described herein via a pre-written and approved

manual containing a step-by-step guide to be followed by every employee and agent of Eckert.

          152.   Eckert decided to use proposed orders and referee reports of sale with a

miscalculated judgment amount.

          153.   Eckert failed to take available, basic and necessary steps to properly calculate

the final judgment amounts included in its submissions to the court. By entering into a retainer

agreement to render services, Eckert assumed a duty to exercise reasonable skill in the



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performance of its work.

       154.      Furthermore, Eckert failed to take available basic and necessary steps to properly

report sales of the foreclosed properties, resulting in sales that are lower in price than the bid

amount at auction.

       155.      Eckert breached its duty to exercise reasonable skill and care in the course of

discharging its contractual obligations and thereby launched a force of instrument of harm.

       156.      Eckert knew, or should have known, that its failure to properly calculate the

judgment amounts for the referee reports of sale could lead to Plaintiff and putative Class

members being charged unlawful, compound interest that vastly inflated the amounts owed to the

foreclosing defendants.

       157.      By reason of the foregoing, Eckert directly created and/or increased the risk of

harm to Plaintiff and putative Class members.

       158.      As a direct, proximate cause of the foregoing, Plaintiff has been damaged in the

total amount to be determined at trial, but no less than $5,000,000.00.

                          AS AND FOR A SIXTH CAUSE OF ACTION
                                  (GROSS NEGLIGENCE)
                                     (Against Eckert)

       159.      Plaintiff repeats and realleges each and every paragraph set forth above as

though fully set forth herein.

       160.      By reason of the foregoing, Eckert’s failure to follow the basic and necessary

protocol for the calculations in the referee reports of sale manifested a reckless and intentional

breach of its duty of care and a complete disregard for the rights of the Plaintiff.

       161.      Furthermore, Eckert failed to take available basic and necessary steps to properly

report sales of the foreclosed properties, resulting in sales that are lower in price than the bid

amount at auction.
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       162.      As a direct, proximate and foreseeable result of Eckert’s gross negligence,

Plaintiff has been damaged in the total amount of no less than $5,000,000.00.

                      AS AND FOR A SEVENTH CAUSE OF ACTION
                              (LEGAL MALPRACTICE)
                                   (Against Eckert)

       163.      Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

       164.      Eckert negligently and recklessly filed fraudulent referee reports of sale on

behalf of Deutsche Bank and Select Portfolio Servicing, knowing it did not have personal

knowledge of the facts necessary to secure a judgment of foreclosure of sale.

       165.      Furthermore, Eckert failed to take available basic and necessary steps to properly

report sales of the foreclosed properties, resulting in sales that are lower in price than the bid

amount at auction.

       166.      Eckert’s negligent and reckless filing of fraudulent referee reports of sale and the

circumstances under which Eckert’s negligent acts were committed, as aforesaid, caused

Plaintiffs and Class members to suffer a loss of security, collateral and interest in their

properties.

       167.      As a direct, proximate and foreseeable result of Eckert’s legal malpractice,

Plaintiff has been damaged in the total amount of no less than $5,000,000.00

                       AS AND FOR AN EIGHT CAUSE OF ACTION
                               (UNJUST ENRICHMENT)
                                 (Against Deutsche Bank)

       168.      Plaintiff repeats and re-alleges each and every paragraph set forth above as

though fully set forth herein.

       169.      Deutsche Bank, through Defendants fraudulent interest calculations, received

$13,352.88 more than it was legally entitled, to the detriment of Plaintiff.

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        170.    Furthermore, Deutsche Bank, through the Defendants fraudulent reduction of the

bid amount, purchased the Subject Property for $574,118.59 less than the bid price at auction.

        171.    Had the Defendants properly calculated the interest owed on the Subject

Mortgage, and had the Defendants not improperly reduced the bid amount, Plaintiff, or her

creditors, would have been entitled to surplus monies resulting from the sale of the Subject

Property.

        172.    The Defendants have been unjustly enriched through these fraudulent activities.

It is against equity and good conscience to permit the Defendants to retain the benefits of the

monies obtained without paying value to the Plaintiff.

        173.    As a direct, proximate and foreseeable result of the Defendants’ unjust

enrichment, Plaintiff has been damaged in the total amount of no less than $5,000,000.00.

                        AS AND FOR A NINTH CAUSE OF ACTION
                         (in the alternative - PRIMA FACIE TORT)
                                    (Against All Defendants)

        174.    Alternatively, Plaintiff repeats and re-alleges each and every paragraph set forth

above as though fully set forth herein.

        175.    Defendants, by and through their miscalculations of interest owed and reduction

of the bid, intentionally sought to reduce and/or eliminate the surplus monies rightfully owed to

Plaintiff.

        176.    As a result, Plaintiff suffered damages in the form of lost surplus monies.

        177.    Defendants had neither excuse nor justification for the miscalculations and

reduction of the bid.

        178.    As a direct, proximate and foreseeable result of the Defendants’ conduct,

Plaintiff has been damaged in the total amount of no less than $5,000,000.00.



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                    TOLLING OF THE STATUTES OF LIMITATIONS

  I.   DISCOVERY RULE TOLLING

       179.     Plaintiff and putative Class members could not have discovered, through the

exercise of reasonable diligence, within the time periods of the statutes of limitation for the

FDCPA and GBL § 349, that Defendants had perpetrated their fraudulent scheme against them.

       180.     Plaintiff and putative Class members did not know, and could not have known,

essential elements of their claims until discussing this matter with an attorney in 2024, including

that Defendants have (1) with intent of fabricating interest owed to the foreclosing lenders, and

(2) submitted referee reports of sale where the amounts purported to be due are inaccurate.

       181.     Therefore, the running of these statutes of limitations have been suspended with

respect to any claims that Plaintiff and Class members have as a result of Defendants’ fraudulent

scheme by virtue of the discovery rule doctrine.

 II.   FRAUDULENT CONCEALMENT TOLLING

       182.     Throughout the time period relevant to this action, Defendants affirmatively

concealed from Plaintiffs and the other members of the Class the fraudulent scheme described

herein. As such, neither Plaintiff nor the other members of the Class could have discovered, even

upon reasonable exercise of diligence that Defendants had secured judgments of foreclosure and

sale against them through the fraudulent scheme described herein.

       183.     Therefore, the running of the applicable statutes of limitations have been

suspended until March 20, 2024, by virtue of the fraudulent concealment doctrine, with respect

to any FDCPA and GBL § 349 claims that Plaintiffs and the other members of the Class have as

a result of Defendants’ fraudulent scheme.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on behalf of herself and all others similarly situated, demand

judgment as follows:

        1.     An order certifying this case as a class action under Fed. R. Civ. P. 23;

        2.     A judgment declaring that Defendants have committed the violations of law

               alleged in this action;

        3.     An order enjoining and directing Defendants to comply with the NY CPLR in

               their debt collection activities, including without limitation:

                 i.    Directing Defendants to cease engaging in debt collection practices that

                       violate the FDCPA, RICO, NY GBL § 349 and NY Jud. Law § 487;

               ii.     Directing Defendants to review carefully the necessary documents to

                       prepare the referee reports of sale.

               iii.    Directing Defendants to properly calculate the interest from the time of the

                       filing of the judgment of foreclosure and sale and the time it is entered.

        4.     Actual and/or compensatory damages against all Defendants in an amount to be

               proven at trial;

        5.     Treble damages pursuant to RICO;

        6.     Statutory damages pursuant to the FDCPA;

        7.     An order awarding disbursements, costs, and attorney’s fees pursuant to the

               FDCPA, RICO, AND NY GBL § 349;

        8.     Treble damages pursuant to NY Jud. Law § 487; and




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          9.     Such other and further relief that may be just and proper.

 Dated:        Kew Gardens, New York
               April 2, 2025
                                              Respectfully submitted,
                                              ANDERSON, BOWMAN & WALLSHEIN,
                                              PLLC


                                              By: /s/ Mark S. Anderson, Esq. /s/
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